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Attorneys for Plaintiff
Christopher Wozniak

                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 CHRISTOPHER WOZNIAK,

                           Plaintiff,

 v.                                                     Case No.:

 WARNER BROS. ENTERTAINMENT, INC.,


                          Defendant,




                             COMPLAINT AND JURY DEMAND

       The plaintiff Christopher Wozniak (“Plaintiff”), by his undersigned attorneys, Rath,

Young and Pignatelli, PC, for his Complaint against the defendant Warner Bros. Entertainment,

Inc. (“Defendant”), alleges as follows:

                                SUBSTANCE OF THE ACTION

       1.      This is a case of willful copyright infringement in violation of 17 U.S.C.

  §§ 106(1), and 501. Plaintiffs seek damages in an amount to be established at trial.

                                            PARTIES

       2.      Plaintiff is an individual doing business at 6 Winter Street, Lancaster, New

Hampshire, 03584.
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        3.       Defendant is a foreign business corporation registered with the State of New York

and doing business at 1325 Avenue of The Americas, New York, New York 10019.

                                  JURISDICTION AND VENUE

        4.       This is a civil action seeking damages and injunctive relief for copyright

infringement under the copyright laws of the United States, and therefore this Court has

jurisdiction under 17 U.S.C. § 101 et seq.; 28 U.S.C. § 1331 (federal question jurisdiction), and

28 U.S.C. § 1338(a) (jurisdiction over copyright actions).

        5.       Personal jurisdiction and venue over Defendant are proper. Defendant is

conducting business in this judicial district and is committing torts in this state, including without

limitation the copyright infringement at issue here, which causes harm in this state and judicial

district.

        6.       Pursuant to 28 U.S.C. § 1391, venue properly lies in this Court because a

substantial part of the events giving rise to the claims herein occurred in this judicial district.

                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

A.      Plaintiff and His Copyrighted Work

        7.       Plaintiff is a writer and illustrator, whose critically acclaimed work has appeared

in a number of comic books published by Marvel Comics Group and DC Comics, Inc., such as

Superman, Justice League, Excalibur, X-Men, and Hulk, to name a few.

        8.       In 1990, Plaintiff authored the story he called at the time “The Ultimate Riddle”

but later revised and called “The Blind Man’s Hat” (herein after the “Copyrighted Work”)

involving a vulnerable and doubtful Batman enduring a series of trials set by the Riddler, who is

characterized as an introverted serial killer and mass murderer. That same year, Plaintiff

submitted the Copyrighted Work to Archie Goodwin, Editor at the DC Comics Batman Office,


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for publication as a potential graphic novel for the Elseworlds series. The Elseworlds series was

a DC Comics publication for stories that take place outside the established plot lines, back

stories, and character tropes found in the DC Universe, the fictional universe where most stories

published by DC Comics take place. Superheroes like Batman, Superman, Wonder Woman, The

Flash, Green Lantern, Aquaman, and others exists in this universe, along with the DC Comics

supervillains like the Joker, Lex Luthor, the Penguin, and, relevant here, the Riddler.

       9.      The Riddler, also known as Edward Nygma, is a super villain in the DC Universe.

In the DC Universe, the Riddler grew up working at a carnival, a showman who puzzled patrons

with his brain teasers. He discovers Batman to be his worthy adversary come at last, and

embarks upon on a life of crime to tease Batman, and sometimes Robin, with sinister puzzles and

criminal schemes to prove his intellectual superiority over Batman and the police of Gotham

City. The Riddler in the DC Universe wears loud clothing, usually a domino mask and green

unitard decorated with question mark prints or a green suit and bowler hat. He is typically

theatrical and ostentatious.

       10.     In the DC Universe, Batman is the night-time alter ego of the playboy billionaire

Bruce Wayne, whose butler, Alfred, assists Batman from their base of operations in a cave

beneath Bruce Wayne’s sprawling estate, Wayne Manor. Batman is dedicated to a crusade

against crime in Gotham City in the name of his dead parents, who were murdered when he was

a child. In the DC Universe, Batman has a perfectly trained body and mind. He is a self-

assured, self-made superhero with uncanny physical prowess, and an arsenal of technological

gadgetry to free him from the dangers of his crusade. He often relies on the help from a team of

fellow costumed allies, like his side-kick Robin the Boy Wonder, Batgirl, the members of the

Justice League, and others. Defeat at the hands of villains for Batman, in the DC Universe, is not


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something Batman typically contemplates.

       11.     However, in the Copyrighted Work, Plaintiff creates a Batman character that is a

vulnerable, poisoned man, whose arduous years of crime fighting have taken their toll on his

aging frame. He is much more armored, a small man in a big suit, like Ironman, with more

attachments. He has to rely on gadgets and guns more than his physical prowess. He lacks the

dedication of the Batman in the DC Universe and doubts his ability to carry on as a crime fighter.

He debates with his alter ego, Bruce Wayne, whether it is prudent to mislead Gotham City into

believing he can be relied on.

       12.     The premise of the Copyrighted Work is the government and police have been

overtaken by a criminal organization. Gotham City is completely and systematically corrupt.

The systematically corrupt police and government officials are being paid off and controlled by a

single source, a corrupt banking cartel. In the Copyrighted Work, this one organization controls

everything in the police force and government. Protests against the corruption are rampant.

There are riots and looting everywhere and martial law has been implemented. The city is

broken.

       13.     Commissioner Gordan in the Copyrighted Work is called the last honest cop in

Gotham City. Batman and Commissioner Gordan work together and are as close as they have

ever been. Batman appears less as the brawns of the pair as in the DC Universe and more as a

fellow detective. The two of them have little trust in the police force or government and team up

together to solve the Riddler’s crimes.

       14.     The Copyrighted Work opens at the scene of a grisly killing, where Batman finds

a taunting note from the Riddler promising more killings to come. This is not the flashy,

extroverted showman Riddler of the DC Universe but a lonely Riddler who has not been heard of


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in 20 years. This Riddler character is characterized as a morbid loser, shunned by society, who is

now a serial killer and mass murderer. He once found solace in a group home or commune as a

younger man, along with others shunned by society, and led by a “Mystery Man” until the others

in the group home are slaughtered. This slaughter causes the Riddler to experience a moment of

clarity: he realizes his whole life has been preparing for a particular moment where he will solve

the greatest riddle of all for everyone, “the Big Reveal” of the Afterlife.

        15.     The plot of the Copyrighted Work involves a series of mass killings that the

Riddle causes, trials for Batman where the Riddler leaves a new riddle for Batman to solve at the

scene of each of these killings. The answers combine into a cypher that when solved, will

uncover the Riddler’s “Big Reveal.” In one of these trials, the Riddler has booby trapped the

home of Commissioner Gordan’s daughter, Barbara Gordan, with a firebomb. Batman finds out

via a phone call, but it is too late to save her.

        16.     In another scene in the Copyrighted Work, the Riddler allows the police to take

him, for the express purpose of confronting Batman face to face with his Big Reveal. Batman

and Commissioner Gordan then interrogate the Riddler in his holding cell where they learn the

Riddle is continuing to operate his criminal scheme and that he knows the Batman is Bruce

Wayne. When the Riddler reveals he knows Batman is Bruce Wayne, Commissioner Gordan

believes this is the Big Reveal and that only Batman is keeping Gotham from total destruction.

If Batman’s true identity is disclosed, even to a single prison guard, Gotham City will be lost.

Commissioner Gordan believes this to be the Riddler’s ultimate goal and releases the Riddler

from his holding cell, believing this will save Gotham City.

        17.     There is a pivot to the plot in the Copyrighted Work as Batman does a more

careful analysis of the cypher and sees that the Riddler’s ultimate plan is not just to reveal


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Batman’s identity but to bring about Armageddon or total destruction with a Biblical plague.

Riddler’s motive for Armageddon is to restart his own version of a utopian society, because

society shunned him and his kind.

       18.     In a final fight scene of the Copyrighted Work where Batman rushes to stop the

Riddler from unleashing his plague, Batman, poisoned and weak, is incapacitated, and the

Riddler is winning the fight. While Batman escapes the Riddler by gaining access to the

Batmobile, he lies helpless and in need of the antidote, which he obtains in the end from Alfred.

       19.     At the end of the Copyrighted Work, Batman acknowledges his duality with the

super villain, telling the Riddler that they are both in their own private hells. But in the end

Batman learns he is a symbol for hope and he re-dedicates himself to saving Gotham City. It is

then disclosed that the Joker, another super villain from the DC Universe, who is not seen or

mentioned throughout the entire plot of the Copyrighted Work, appears at the end as the

unnamed Mystery Man who has secretly masterminded the Riddler’s entire scheme by

anonymously befriending and radicalizing the Riddler.

B.     The Copyrighted Work is an Original Work of Authorship Created by Plaintiff.

       20.     The Copyrighted Work is an original work of authorship created by Plaintiff.

       21.     Plaintiff has obtained a certificate of registration from the United States

Copyrighted Office for the Copyrighted Work. Attached hereto as Exhibit A is a copy of the

certificate for registration obtained from the United States Copyright Office.

       22.     Plaintiff’s portrayal of Gotham City’s government and police force as controlled

by a single entity, totally corrupt, unreliable, and dangerous is an original expression of the idea

of Gotham City.

       23.     Plaintiff’s portrayal of Gotham City in the throes of civil unrest, in complete


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economic collapse, the Banks gone “Broke” and the citizens violently rioting against the banks is

an original expression of the idea of Gotham City.

       24.     Plaintiff’s portrayal of Gotham City with citizens organized by the Riddler whose

picket signs are displayed in the crowd at a crime scene is an original expression of the idea of

Gotham City.

       25.     Plaintiff’s portrayal of Batman as vulnerable and physically weak, a little man, is

an original expression of the idea of Batman.

       26.     Plaintiff’s portrayal of Batman as doubting his dedication to crime fighting, and

contemplating quitting his crusade on crime, is an original expression of the idea of Batman.

       27.     Plaintiff’s portrayal of Bruce Wayne thinking of abandoning the Wayne

Foundation is an original expression of the idea of Bruce Wayne.

       28.     Plaintiff’s portrayal of Batman as more of a human detective and less of a

superhero with uncanny physical prowess is an original expression of Batman.

       29.     Plaintiff’s portrayal of Batman as drugged up and poisoned is an original

expression of the idea of Batman.

       30.     Plaintiff’s portrayal of Bruce Wayne as planning to abandon the Wayne

Foundation is an original expression of the idea of Batman.

       31.     Plaintiff’s portrayal of the Riddler as a loner-serial killer and mass murderer is an

original expression of the idea of the Riddler.

       32.     Plaintiff’s creation of the scene of the Riddler surrendering to the police to

confront Batman to reveal the Riddler knows he is Bruce Wayne is an original creation.

       33.     Plaintiff’s creation of the different scenes whereby the Big Reveal is made

through answers to the riddles at each the mass killings that, when combined into a cypher,


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reveal that the Riddle knows Batman is Bruce Wayne is an original creation.

       34.     Plaintiff’s creation of the scenes of Batman and Commissioner Gordan

interrogating the Riddler in his holding cell and learning that the Riddle knows Batman is Bruce

Wayne is an original creation.

       35.     Plaintiff’s creation of a pivot to the plot as Batman does a more careful analysis of

the cypher and sees the Riddler’s ultimate plan is not merely to reveal the identify of Batman but

to bring about Armageddon or total destruction with a Biblical plague.

       36.     Plaintiff’s creation of an ending to his story where the Joker is revealed to be the

unseen mastermind who has anonymously manipulated the Riddler to commit his crimes is

original expression of the idea of what motivates the Riddler.

C.     Defendant’s Access to the Copyrighted Work

       37.     Defendant had access to the Copyrighted Work as a result of Plaintiff’s original

submission of an earlier version of the Copyrighted Work to Archie Goodwin at DC Comics,

Inc., who was the editor of the Batman comics in 1990. DC Comics was a unit of DC

Entertainment, which is now a subsidiary, along with Defendant, of Warner Bros. Discovery,

Inc. This version did not include the surprise ending where the Joker is revealed as the Mystery

Man; that ending was added in 2002.

       38.     Defendant had further access to the Copyrighted Work as a result of Plaintiff’s

submission of the Copyrighted Work to various writers and illustrators at DC Comics, Inc. on

numerous occasions from 1990 to 2017.

       39.     Defendant had further access when, in 2002, after Archie Goodwin had passed

away, Plaintiff resubmitted the Copyrighted Work by email to DC Comics Batman Office for

publication.


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       40.     Defendant had further access when, in 2008, at the New York Comic Convention,

Michael Uslan approached Plaintiff’s booth and asked for a complimentary copy of Plaintiff’s

comic book, Barren Soil. Michael Uslan said he was a film producer that was, always looking

for good stories, and gave Plaintiff his business card. After the convention, Plaintiff discovered

that Michael Uslan produced Defendant’s Batman films so Plaintiff submitted the Copyrighted

Work to Michael Uslan explaining the Copyrighted Work was considered but not done at DC

Comics and that it would make a fantastic Batman film.

       41.     Four months after Plaintiff submitted the Copyrighted Work to Michael Uslan,

Plaintiff noticed multiple articles in film industry websites and magazines claiming producers at

Warner Brothers were pushing Director Christopher Nolan and screenwriter David Goyle to do a

Batman where the Riddler was a serial killer.

       42.     Upon information and belief, after having access to the Copyrighted Work,

Defendant pressed very hard for its Batman directors to use the Copyrighted Work in a Batman

movie, or substantial portions of the Copyrighted Work, in a Batman Movie.

D.     Defendant’s The Batman Movie is Substantially Similar to the Copyrighted Work

       43.     Long after its access to the Copyrighted Work, Defendant, in March of 2022,

premiered the motion picture The Batman (“Defendant’s Movie”). Plaintiff was stunned to see

such a large portion of his story copied in the Defendant’s Movie in some form or other, as if

nothing of his was absent in Defendant’s Movie.

       44.     Defendant’s Movie is substantially similar to the Copyrighted Work because

Defendant copies original, protective elements from the Copyrighted Work, including, but not

limited to, the following examples.

       45.     Defendant copied Plaintiff’s portrayal of Gotham City’s government and police as


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totally corrupt, unreliable, and a dangerous threat to Batman and Commissioner Gordon.

Plaintiff’s portrayal of Gotham City’s government and police force as totally corrupt, unreliable,

and a dangerous threat to Batman and Commissioner Gordon is an original expression of the idea

of threats to Batman and Commissioner Gordon.

       46.     Another example of copying in Defendant’s Movie is in the scene where John

Turturro is being led out in cuffs by Commissioner Gordon and Turturro says that nothing will

happen to him because all the cops in Gotham work for him, but Commissioner Gordon swings

the doors open and there is a small faction of police officers waiting outside that are still loyal to

him. This scene is copied from an original expression of the Copyrighted Work. In the

Copyrighted Work, all the police are also corrupt, but in a scene where Batman is being

overwhelmed, Barbara Gordon dispatches a small faction of police officers still loyal to

Commissioner Gordon to help Batman.

       47.     Defendant copied Plaintiff’s portrayal of Gotham City in the throes of civil unrest

and riots and broke. Plaintiff’s portrayal of Gotham City in the throes of civil unrest and riotsand

broke is an original expression of Gotham City.

       48.     Another example of copying in Defendant’s Movie is the scene where the District

Attorney crashes his car into a funeral with a bomb strapped around his neck, an event staged by

the Riddler, and all the protesters outside the funeral are holding signs with Riddler symbols and

quotes on them. This scene is copied from an original expression of the Copyrighted Work.

       49.     Another example of copying in Defendant’s Movie occurs in the scene where

citizens of Gotham City are rioting and smash a window marked "Bank" and throw a Molotov

cocktail inside. They run from the building which has a "Bank of Gotham" sign out front and the

word "BROKE" is spray-painted across the building in giant letters. This scene is copied from an


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original expression of the Copyrighted Work.

       50.     Defendant copied Plaintiff’s expression of Batman as vulnerable, physically

weak, a little man doubting his dedication to crime fighting, and contemplating quitting his role

as the Batman. Plaintiff’s portrayal of Batman as vulnerable, physically weak, a little man

doubting his dedication to crime fighting, and contemplating quitting his role as the Batman is an

original expression of the idea of Batman.

       51.     Defendant copied Plaintiff’s expression of the idea of Batman as more of a human

detective and less of a superhero with uncanny physical prowess and working in tandem with

Commissioner Gordon. Plaintiff’s portrayal of Batman as more of a human detective and less of

a superhero with uncanny physical prowess and working in tandem with Commissioner Gordon

is an original expression of the idea of Batman.

       52.     Defendant copied Plaintiff’s expression of the idea of Bruce Wayne thinking of

abandoning Wayne Foundation. Plaintiff’s portrayal of Bruce Wayne thinking of abandoning

Wayne Foundation is an original expression of the idea of Bruce Wayne.

       53.     Defendant copied Plaintiff’s expression of the idea of Batman as dope sick.

Plaintiff’s portrayal of Batman as dope sick is an original expression of the idea of Batman.

       54.     Another example of copying in Defendant’s movie is a scene where Alfred is fire-

bombed by the Riddler with a boobytrap and Batman finds out via a phone call but it is too late

to stop it. This scene is copied from an original expression in the Copyrighted Work.

       55.     Another example of copying in Defendant’s movie is a scene where the Riddler

hides in the shadows while Alfred is attending a food tray before the Riddler strikes him from

behind, rendering him unconscious, and, while Alfred is out and helpless, the Riddler strikes him

over and over and over again (three times). This exact scene is given to the Mayor (the first


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killing in the film) but in the film the Mayor is attending a drinks tray, not a food tray, and is

even hit three times while he’s down.

        56.       Defendant copied Plaintiff’s expression of the idea of the Riddler as a loner and

loser. Plaintiff’s portrayal of the Riddler as a loner and loser is an original expression of the idea

of the Riddler.

        57.       Defendant copied Plaintiff’s expression of the idea of the Riddler as a serial

killer. Plaintiff’s portrayal of the Riddler as a lonely serial killer is an original expression of the

idea of the Riddler.

        58.       Defendant copied Plaintiff’s expression of the idea of the Riddler as not being

ostentatious and theatrical. Plaintiff’s portrayal of the Riddler as not being ostentatious and

theatrical is an original expression of the idea of the Riddler

        59.       Defendant copied Plaintiff’s expression of the idea of the Riddler as having been

nurtured in a group home. Plaintiff’s portrayal of the Riddler as having been nurtured in a group

home is an original expression of the idea of the Riddler.

        60.       Defendant copied Plaintiff’s expression of the idea of the Riddler as having been

damaged by his experience in a group home. Plaintiff’s portrayal of the Riddler as having been

damaged by his experience in a group home is an original expression of the idea of the Riddler.

        61.       Defendant copied Plaintiff’s creation of the scene of the Riddler allowing the

police to capture him so that he may confront Batman. Plaintiff’s creation of the scene of the

Riddler allowing the police to capture him so that he may confront Batman face to face is an

original creation.

        62.       Defendant copied Plaintiff’s creation of a Riddler that kills by poisoning.

Plaintiff’s creation of a Riddler that kills by poisoning is an original expression of the idea of the


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Riddler.

       63.     Defendant copied Plaintiff’s creation of the scene of the Riddler allowing the

police to capture him so that he may tell Batman, face to face, that Riddle knows Batman is

Bruce Wayne. Plaintiff’s creation of the scene of the Riddler allowing the police to capture him

so that he may tell Batman, face to face, that Riddle knows Batman is Bruce Wayne is an

original creation.

       64.     Another example of copying in Defendant’s Movie is in the scene where Batman

is interrogating the Riddler in his holding cell, and the Riddler tells Batman that he is an integral

part of the Riddler’s plan. Batman doesn't understand and the Riddler gets angry, stating Batman

is not as smart as he gave him credit for because he doesn't see the bigger picture. This scene is

copied from an original expression of the Copyrighted Work.

       65.     Defendant copied Plaintiff’s creation of the scene of the Riddler, from a holding

cell, revealing that Riddle knows Batman is Bruce Wayne. Plaintiff’s creation of the scene of the

Riddler, from a holding cell, revealing that Riddle knows Batman is Bruce Wayne is an original

creation.

       66.     Another example of copying in Defendant’s movie is a scene in the holding cell

where the Riddler explains to Batman and Commissioner Gordon that they are included in his

clues, and the Riddler gets angry at Batman for not being as smart as he gave him credit for.

This scene is copied from an original expression of the Copyrighted Work.

       67.     Defendant copied Plaintiff’s creation of the Big Reveal whereby a series of

answers to the riddles at each the mass killings cause by the Riddler, when combined into a

cypher, reveal that Riddle knows Batman is Bruce Wayne. Plaintiff’s creation of the Big Reveal

whereby a series of answers to the riddles at each the mass killings cause by the Riddler, when


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combined into a cypher, reveal that Riddle knows Batman is Bruce Wayne is an original

creation.

       68.     Defendant copied Plaintiff’s creation of a scene of the Riddler operating his

criminal scheme against Batman from a holding cell. Defendant copied Plaintiff’s creation of a

scene of the Riddler operating his criminal scheme against Batman from a holding cell is an

original creation.

       69.     Defendant copied Plaintiff’s creation of the Riddler and Batman operating in their

own private hells. Plaintiff’s creation of the Riddler and Batman operating in their own private

hells is an original expression of the idea of the torment facing Batman.

       70.     Defendant copied Plaintiff’s pivot to the plot where Riddler’s ultimate plan is not

to merely reveal the true identity of Batman but to also bring about Armageddon or total

destruction of Gotham City in a Biblical manner. Plaintiff’s pivot to the plot where Riddler’s

ultimate plan is not to merely reveal the true identity of Batman but to also bring about

Armageddon or total destruction of Gotham City in a Biblical manner is an original creation.

       71.     Another example of copying in Defendant’s Movie are the scenes when

Commissioner Gordon assumes the Riddler’s end plan was to expose Batman’s identity, but

Batman examines the clues more closely and realizing it isn’t over, that there is a much bigger

plan, to kill everyone, is already set in motion.

       72.     Defendant copied Plaintiff’s ending where the Joker is revealed to be the unseen

mastermind who has anonymously manipulated the Riddler to commit his crimes. Plaintiff’s

ending where the Joker is revealed to be the unseen mastermind who has anonymously

manipulated the Riddler to commit his crimes is an original expression of the idea of the Riddler.




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                                   FIRST CLAIM FOR RELIEF
                          (Direct Copyright Infringement By Defendants)
                                      (17 U.S.C. § 101 et seq.)

         73.    Plaintiff realleges the above-paragraphs and incorporate them by reference as if

fully set forth herein.

         74.    The Copyrighted Work is an original work of authorship, embodying

copyrightable subject matter, subject to the full protection of the United States copyright laws.

         75.    Plaintiff owns all rights, title and interest in and to the copyrights in the

Copyrighted Work.

         76.    As a result of Plaintiff’s distribution and display of the Copyrighted Work to

Defendant, Defendant had access to the Copyrighted Work prior to the creation of the

Defendant’s Movie.

         77.    By its actions, as alleged above, Defendant, or any agents acting on their behalf,

directly infringed Plaintiff’s exclusive rights in violation of the Copyright Act, 17 U.S.C. §501,

by reproducing, distributing, publicly performing, and publicly displaying the Defendant’s

Movie.

         78.    Defendant’s Movie is substantially similar to and copied from, the Copyrighted

Work.

         79.    The infringement of Plaintiffs’ copyrights is willful and deliberate because

Defendant knew or should have known it needed and did not have permission to use Plaintiff’s

Copyrighted Work but did so anyway, and continue to do so, profiting at the expense of Plaintiff.

         80.    As a direct and proximate result of Defendants’ infringement of Plaintiff’s

exclusive rights in the Copyrighted Work, Plaintiff is, pursuant to 17 U.S.C. § 504(b), entitled to

recover actual damages resulting from Defendant’s uses of the Copyrighted Work without


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paying license fees, in an amount to be proven at trial.

        81.     In addition, pursuant to 17 U.S.C. § 504(b), Plaintiff shall be entitled to recover

damages based on a disgorgement of Defendant’s profits from infringement of the Copyrighted

Work, amounts will be proven at trial.

        82.     Defendant’s conduct has caused and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

                               SECOND CLAIM FOR RELIEF
                     (Contributory Copyright Infringement by Defendants)

        83.     Plaintiff realleges the above-paragraphs and incorporate them by reference as if

fully set forth herein.

        84.     As an alternative theory to their direct infringement claim, in the event Defendant

contends the infringing conduct described above is done by another, Defendant had either actual

or constructive knowledge of the above-described infringements and either induced, caused or

materially contributed to the infringing conduct described above by providing the website and

servers on which the infringements occur.

        85.     By their actions, as alleged above, the Defendant’s foregoing acts of contributory

infringement violate Plaintiff’s exclusive rights in violation of the Copyright Act, 17 U.S.C.

§501.

        86.     The foregoing acts of contributory infringement of Plaintiff’s copyrights are

willful and deliberate in that Defendant knew or should have known they did not have

permission to use Plaintiff’s Copyrighted Work but continued to infringe the Copyrighted Work

anyway and profited at the expense of Plaintiff.

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        87.      As a direct and proximate result of the contributory infringement of Plaintiff’s

exclusive copyrights in the Copyrighted Work, Plaintiff is entitled to recover actual damages

resulting from Defendant’s uses of the Copyrighted Work without paying license fees, in an

amount to be proven at trial.

        88.      In addition, pursuant to 17 U.S.C. § 504(b), Plaintiff shall be entitled to recover

damages based on a disgorgement of the Defendant’s profits from infringement of the

Copyrighted Work, amounts will be proven at trial.

        89.      The Defendant’s conduct has caused, and any continued infringing conduct will

continue to cause, irreparable injury to Plaintiff unless enjoined by this Court.

        90.      Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is

entitled to a permanent injunction prohibiting infringement of Plaintiffs’ exclusive rights under

copyright law.

                              THIRD CLAIM FOR RELIEF
                     (Vicarious Copyright Infringement by Defendant)

        91.      Plaintiff realleges the above paragraphs and incorporate them by reference as if

fully set forth herein.

        92.      As an alternative theory to its infringement claims above, to the extent any of the

Defendant contends it did not directly infringe or contributorily infringe Plaintiff’s copyrights,

Defendant each had the right or ability to control the direct infringement described above.

        93.      As a result of each of the Defendant’s right or ability to supervise the direct

infringement described above, Defendant could have prevented or stopped the direct

infringement but did not take any action to do so.

        94.      Defendant had a direct financial interest in the reproduction, distribution and

public display of the Initial Copyrighted Work and Defendant benefitted from that direct

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infringement.

       95.      As a direct and proximate result of the Defendant’s vicarious infringement of

Plaintiff’s copyright and exclusive rights in the Copyrighted Work, Plaintiff is entitled to recover

actual damages resulting from the Defendant’s uses of the Copyrighted Work without paying

license fees, in an amount to be proven at trial.

       96.      In addition, pursuant to 17 U.S.C. § 504(b), Plaintiff shall be entitled to recover

damages based on a disgorgement of the Defendant’s profits from infringement of the

Copyrighted Work, which amounts will be proven at trial.

       97.      Defendant’s conduct has caused and any continued infringing conduct will

continue to cause irreparable injury to Plaintiff unless enjoined by this Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

injunction prohibiting infringement of Plaintiffs’ exclusive rights under copyright law.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       1.       A declaration that Defendant has infringed Plaintiff’s copyrights under the

Copyright Act;

       2.       A declaration that such infringement is willful;

       3.       An accounting of all revenue earned by Defendant during the period in which it

reproduced, distributed, publicly performed or displayed the Copyrighted Work, or any portion

or derivation of the Copyrighted Work;

       4.       Awarding Plaintiff all gains, profits, property and advantages obtained or

derived by Defendant from their acts of copyright infringement;

       5.       Awarding Plaintiff such exemplary and punitive damages as the Court

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finds appropriate to deter any future infringement;

        6.      Awarding Plaintiff interest, including pre-judgment interest, on the foregoing

sums;

        7.      Permanently enjoining Defendant, their employees, agents, officers, directors,

attorneys, successors, affiliates, subsidiaries and assigns, and all those in active concert and

participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights or

continuing to market, offer, sell, dispose of, license, lease, transfer, public display, advertise,

reproduce, develop or manufacture any works derived or copied from the Plaintiffs’ or to

participate or assist in any such activity; and

        8.      For such other and further relief as the Court may deem just and proper.


                                          JURY DEMAND

        Plaintiff hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.

Dated: October 20, 2022
                                                  Respectfully submitted,


                                                  /s/ R. Terry Parker
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